                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW MEXICO

In re:

MBF INSPECTION SERVICES, INC.
                                                                     Case No. 18-11579-11
         Debtor(s).

 OPPOSITION OF GANCI CREDITORS TO DEBTOR’S DISCLOSURE STATEMENT

         The Ganci creditors submit the following narrow objections to Debtor’s Disclosure

Statement (ECF No. 212), because the Disclosure Statement fails to provide adequate information

about the Ganci claims. See 11 U.S.C. § 1125(a) (adequate information is “of a kind, and in

sufficient detail . . . that would enable a hypothetical investor . . . to make an informed judgment

about the plan”). Here, Debtor does not disclose a) why Debtor claims the value of the Ganci

claims “to be zero ($0)” when Debtor has already conceded its exemption defenses as to a

substantial number of the claimants at issue; b) what factors explain the range of values of the

Ganci claims or the likelihood of different outcomes; c) whether any actual evidence supports the

assertion that Debtor’s violations were not willful; d) what “substantial defenses” Debtor refers to

in reference to the Ganci litigation; or e) why the Debtor’s admitted $5,000,000 line of credit with

Inspection Leasing is not being deployed to accelerate payment of creditors such as the Ganci

creditors. Because the Disclosure Statement does not explain these crucial points, the Court should

not permit Debtor to seek approval of its plan based on the inadequate disclosures.

         Section 1125 of the Bankruptcy Code provides that a disclosure statement must provide

adequate information and must be approved after notice and a hearing before the debtor may solicit

acceptance of its Plan. 11 U.S.C. § 1125(b). Debtor’s Disclosure Statement does not meet this

standard.




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       As explained previously, Debtor has conceded that it has no exemption defense as to many

Ganci claimants. There is no justification, therefore, for Debtor’s statements that the Ganci claims

are worth zero dollars, or that Debtor has “substantial defenses.” Nor does Debtor explain the

dramatic range of values for the Ganci claims—from $231,182.20 to $2,117,808.12. As Creditors

recently explained (see ECF No. 231), there are several variables this Court should resolve which

will bring Debtor’s exposure into focus. Rather than rely on this broad range, provided without

context, the Court should proceed to liquidate the claims. There are relatively few issues, many of

which have already been briefed.

       Finally, the Disclosure Statement references Debtor’s line of credit with Inspection

Leasing, and notes that the “maximum, allowable amount of indebtedness under the terms of this

agreement” is $5,000,000. This is important information, but it is hardly adequate information

under Section 1125—why, if this line of credit, is Debtor not taking advantage of that credit in its

Plan, but instead making Creditors bear the risk of delayed payment?

       For the foregoing reasons, Creditors respectfully request that the Court sustain the

Objections to Debtor’s Disclosure Statement, and require additional disclosures before Plan

confirmation.



Date: April 30, 2019                                 s/Matthew C. Helland
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above was filed electronically on April

30, 2019 pursuant to the service requirements of the ECF/CM for the United States Bankruptcy

Court for the District of New Mexico, which will notify all counsel of record.

                                                     s/Matthew C. Helland
                                                     Matthew C. Helland




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